*** NOTE: IT IS Case  1:20-cv-01485-RBJ
                YOUR RESPONSIBILITY TO SET THE Document     72 Filed
                                                            75
                                               TIME IN THE LOWER       12/06/21
                                                                       12/22/21
                                                                 RIGHT CORNER     USDC
                                                                              OF THIS FORM Colorado
                                                                                           (CHOOSE ANY Page 1 of
                                                                                                       TUESDAY,  1
                                                                                                                 2
                                                                                                                WEDNESDAY, OR
THURSDAY AT 8:30, 9:00 OR 9:30 A.M.) FOR APPEARANCE BEFORE THE CLERK FOR TAXATION.***


AO 133(Rev. 12/09) Bill of Costs
USDC Colo. Version – (Rev. (10/01/2020)
                                                                               BILL OF COSTS
                                                                                            DISTRICT
                     United States District Court                                                                          DISTRICT OF COLORADO
                                                                                            DOCKET NO.
Keith Clingman
  v.
                                                                                            CASE NO.
Drive Coffee & Alex Grappo                                                                                               1:20-cv-1485-RBJ
           Judgment having been entered in the above entitled action on
           against                                                                                        the clerk is requested to tax the following as costs:
                                                                               BILL OF COSTS
           Fees of the clerk                                                                                                                               $                  400.00


           Fees for service of summons and complaint                                                                                                       $                  145.00


           Fees of the court reporter for all or any part of the transcript necessarily obtained                                                           $                 1,973.60
                                                                                              UN for use in the case
                                                                                                 IT
                                                                                                   ED
                                                                                                       S                                                   $
           Fees and disbursements for printing                                                     DE TAT FILE                                                               1,057.44
                                                                                          JE          N VE ES D D
           Fees for witnesses (itemized on reverse side)
                                                                                             FF      D     R
                                                                                                RE ec , CO STR
                                                                                                                  I
                                                                                                                                                           $
                                                                                                   Y P . 2 LO ICT
                                                                                                      . C 2,         R    C
                                                                                                          OL     20 ADO OUR
                                                                                                               E L 21
           Fees for exemplification and copies of papers necessarily obtained for use in the case            W              T                              $
                                                                                                                  L,
                                                                                                                     CL
                                                                                                                       ER                                  $
           Docket fees under 28 U.S.C. § 1923                                                                             K

           Costs incident to taking of depositions                                                                                                         $


           Costs as shown on Mandate of Court of Appeals                                                                                                   $


           Other costs (Please itemize)                                                                                                                    $                   58.85




           Please review and comply with D.C.COLO.LCivR 54.1
                                                                                                                                                                  $3,584.89
           (See Notice section on reverse side)
                                                                                                                            TOTAL             $                           3,634.89
                                                                             DECLARATION
              I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services for which fees
           have been charged were actually and necessarily performed. A copy hereof was this day mailed with postage fully prepaid thereon to:

           Signature of Attorney        s/ Penn Dodson
           Print Name                                                                              Phone Number
                         Penn Dodson                                                                                  212-961-7639

           For:           Plaintiff                                                                Date               12/6/2021
                         Name of Claiming Party

Please take notice that I will appear before the Clerk who will tax said costs
on the following day and time:                                                                     Date and Time
                                                                                                                         12/22/21 9:30
                                                                                                                              3,584.89
                                                                                                   Amount Taxed $
Costs are hereby taxed in the following amount and included in the judgment:
                                                                                                   (BY) DEPUTY CLERK
                                                                                                                              s/ Edward Butler
CLERK OF COURT                                                                                     DATE:
JEFFREY P. COLWELL                                                                                                            Dec. 22, 2021
Clerk's note: costs hearing held Dec. 22, 2021 in Courtroom C204, Byron Rogers U.S. Courthouse.
Appearances in person by counsel for Plaintiff and Defendants.
        Case
         Case1:20-cv-01485-RBJ
              1:20-cv-01485-RBJ Document
                                 Document72-1
                                          75 Filed
                                              Filed12/22/21
                                                    12/06/21 USDC
                                                              USDCColorado
                                                                   Colorado Page
                                                                             Page21ofof21



       Date                Dexcription                         Vendor                     Amount     Reference

     Clerk of Court & Service of Process
      5/27/20 Filing Fee                        USDC                                  $    400.00      Docket    No Objection
                Service of Process (2 attempts,
        6/1/20                                  Denver Attorney Services              $     80.00         1
                corp)
                                                                                                              Cost corrected
      6/30/20 Service of Process (attempt)      Roland Process Server                 $ 40.0065.00      2 by Plaintiff
                                                     Filing & Service Subtotal        $ 545.00     $520.00

     Depositio
     ns
        4/7/21 Appearance Fee                      US Legal Support                   $    75.00          3
        5/7/21 Depo Trascript (Clingman)           AB Litigation Services             $ 530.40            4
        5/9/21 Deposition (Grappo/3ob6)            US Legal Support                   $ 1,368.20          5
                                                             Depositions Subtotal     $ 1,973.60        No Objection


     Copying Costs
      11/5/21 Copy/Print (trial exhibits)          Office Depot                       $     49.85         6
     11/12/21 "                                    FedEx                              $    109.54         7
     11/13/21 "                                    FedEx                              $    583.18         8
     11/13/21 Trial binders, tabs, & related       Office Depot                       $    152.73         6
     11/14/21 Copy/Print (trial exhibits)          Office Depot                       $      1.42         6
     11/14/21 "                                    Office Depot                       $     20.68         6
     11/14/21 "                                    Office Depot                       $    104.46         6
     11/14/21 "                                    FedEx                              $     12.24         9
     11/14/21 "                                    FedEx                              $      7.51         9
     11/14/21 "                                    FedEx                              $     10.45         9
     11/14/21 "                                    FedEx                              $      1.96         9
     11/14/21 "                                    FedEx                              $      3.42         9
                                                         Outside Printing/Copying
                                                                                      $ 1,057.44      All allowed and
                                                                          Subtotal                    awarded.

     Other Case Costs
       6/2/21 Background Research Costs            TLO                                $ 0.00 25.00     10
      4/16/21 FedEx to 3rd Party                   FedEx                              $      15.60     11
      4/18/21 FedEx to 3rd Party                   FedEx                              $      18.25     11
                                                       Other Case Costs Subtotal      $      58.85 $33.85


                                             TOTAL Taxable Costs as per Rule 54 $ 3,634.89
Clerk's notes:                                                                         $3,584.89
• regarding copying charges, all costs were incurred in relation to trial only; four sets of trial exhibits were produced -2
   sets per the Court's Practice Standards, and one set each for Plaintiff and opposing counsel, which is reasonable and
   standard. In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144, 1149 (10th Cir. 2009). The objection as to excessive
   pages of printing of excerpts was overruled, since the entire exhibits were printed, following what was listed in the
   Final Exhibit Lists, which is also reasonable and standard.
• regarding the Background Research cost of $25.00, that was incurred by counsel to look up an address for service of
   subpoenas, so it appears to be a legal research costs, which is disallowed. Sorbo v. U.P.S., 435 F.3d 1169, 1180 (10th
   Cir. Service of the subpoenas by FedEx, however, is a viable and cost-saving measure to exercise one's FRCP 45
   prerogative.
